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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF INDIANA
                              HAMMOND DIVISION


   CEZARA CRISAN,

               Plaintiff,                                      2:23-cv-00014-TLS-JPK

   The Board Trustees of Purdue
   University,

           Defendants.



                            JOINT STIPULATION OF DISMISSAL

       It is hereby stipulated and agreed by and between the parties to the above-titled action,
through their respective attorneys, that said action be dismissed with prejudice and without fees or
costs to either party, and that judgment of dismissal with prejudice may be entered hereon pursuant
hereto and without further notice.


        /s/ Rima N. Kapitan                            /s/ Colleen E. Schade

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